          Case 1:19-cv-00422-LY Document 1 Filed 04/16/19 Page 1 of 23




                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF TEXAS
                             AUSTIN DIVISION




Empower Texans, Inc., Brandon C.
Waltens, and Destin R. Sensky

                                 Plaintiffs,



                                                     COMPLAINT
v.
                                                     Civil Action No. 19-422



Charlie L. Geren, in his official capacity as
Chairman of the Committee on House
Administration of the Texas House of
Representatives,

                                Defendant.




Plaintiffs Empower Texans, Inc., Brandon C. Waltens, and Destin R. Sensky bring this

action against Defendant for declaratory and injunctive relief and allege as follows:




                                               –1–
            Case 1:19-cv-00422-LY Document 1 Filed 04/16/19 Page 2 of 23




                                       Introduction

       1.      This   action   seeks   declaratory    and   injunctive    relief   to   remedy

unconstitutional viewpoint discrimination against Plaintiffs. Plaintiffs are entitled to the

same level of access to governmental proceedings as other media outlets.

       2.      Plaintiffs are a non-profit media organization and its employees who report

on the proceedings of the Texas Legislature. Defendant Geren is the chairman of the Texas

House of Representatives Committee on House Administration. Geren has routinely and

openly expressed hostility toward Plaintiffs on account of their publications.

       3.      The evidence demonstrates that Geren is engaging in viewpoint

discrimination in refusing to issue Texas House of Representatives media credentials pass

cards to Plaintiffs and in denying Plaintiffs equal access to the hall of the House in order to

report on its proceedings while making those facilities available to hundreds of other

journalists.

       4.      Defendant’s viewpoint discrimination is causing an ongoing, irreparable

injury to Plaintiffs under the First Amendment to the United States Constitution that this

Court must remedy.


                                 Jurisdiction and Venue

       5.      This action arises under the First and Fourteenth Amendments to the United

States Constitution and is brought pursuant to 42 U.S.C. § 1983. Additionally, Plaintiffs

seek a declaration of their rights pursuant to 28 U.S.C. §2201–2202.

       6.      This Court has subject matter jurisdiction under 28 U.S.C. §§ 1331 and 1343.




                                             –2–
            Case 1:19-cv-00422-LY Document 1 Filed 04/16/19 Page 3 of 23



       7.      Venue is proper in this district under 28 U.S.C. § 1391(b)(1) because

defendant resides in this district. Additionally, a substantial part of the events giving rise

to this claim occurred in this district.


                                           Parties

       8.      Plaintiff Empower Texans, Inc. (“Empower Texans”) is a Texas Nonprofit

Corporation with its principal office in Midland, Texas. Empower Texans is the publisher

of the news magazine Texas Scorecard. “Texas Scorecard” is an assumed name of Empower

Texans under Texas law.

       9.      Plaintiff Brandon C. Waltens (“Waltens”) is an employee of Empower

Texans, Inc. and serves as Capitol Bureau Chief for Texas Scorecard. His duties require him

to report primarily on the sessions of the Texas Legislature. No part of his salary for

legislative coverage is paid by any individual or organization other than Empower Texans.

       10.     Plaintiff Destin R. Sensky (“Sensky”) is an employee of Empower Texans,

Inc. and serves as Capitol Correspondent for Texas Scorecard. His duties require him to

report primarily on the sessions of the Texas Legislature. No part of his salary for legislative

coverage is paid by any individual or organization other than Empower Texans.

       11.     Defendant Charlie L. Geren (“Geren”) is the Texas state representative

elected from Texas House District 99. Geren serves as the chairman of the Texas House of

Representatives Committee on House Administration for the 86th Texas Legislature. He

served in the same role for the 85th Texas Legislature. Geren is sued in his official capacity

as chairman of the Committee on House Administration.




                                             –3–
            Case 1:19-cv-00422-LY Document 1 Filed 04/16/19 Page 4 of 23



         12.    By a motion of the Committee on House Administration, adopted

unanimously on January 29, 2019, Geren has been “grant[ed] the authority to act on the

Committee’s behalf in matters involving the … management of House facilities,

coordination with House support personnel, and general enforcement of the House policies

and procedures.”1

         13.    The Committee on House Administration is empowered under the

Housekeeping Resolution, to “be in charge of and provide for the protection, maintenance,

and use of the hall of the house, all committee rooms, … and other space under the

jurisdiction of the house.”2

         14.    The Committee on House Administration is tasked under the House Rules

“with jurisdiction over … administrative operation of the house and its employees; … [and]

all admissions to the floor during sessions of the house.”3 The Committee is tasked with

receiving applications from media representatives and issuing pass cards to applicants for

purposes of access to the hall of the House while the House is in session.4




1
 Minutes of the January 29, 2019 Hearing of the Texas House of Representatives
Committee on House Administration, 86th Leg., Reg. Sess. (TX 2019) (accessed online at
https://capitol.texas.gov/tlodocs/86R/minutes/pdf/C3002019012909301.PDF on April
16, 2019).
2
    H.R. 3, 86th Leg., Reg. Sess. (TX 2019).

3
    H. Rule 3, §16, 86th Leg., Reg. Sess. (TX 2019).

4
    See H. Rule 5, §20, 86th Leg., Reg. Sess. (TX 2019).

                                               –4–
             Case 1:19-cv-00422-LY Document 1 Filed 04/16/19 Page 5 of 23



          15.     Defendant was at all relevant times acting under color of state law in taking

the actions complained of herein.


                                       Statement of Facts

          The Right to Equal Access for Media Representatives to Governmental Proceedings is
                               Protected by the First Amendment

          16.     “Not only newsmen and the publications for which they write, but also the

public at large have an interest protected by the [First Amendment] in assuring that . . .

individual newsmen not be arbitrarily excluded from sources of information.”5 In Sherrill

v. Knight, the D.C. Circuit concluded the White House could not deny an application for a

press pass without providing “notice of the factual bases for denial, an opportunity for the

applicant to respond to these, and a final written statement of the reasons for denial.”6

          17.     “[N]otice . . . of the factual bases for denial with an opportunity to rebut is a

minimum prerequisite for ensuring that the denial is . . . [not] based on arbitrary or less than

compelling reasons.”7 A final written statement of the reasons for denial is necessary to

ensure the government “has neither taken additional, undisclosed information into

account, nor responded irrationally to matters put forward by way of rebuttal or

explanation.”8




5
    Sherrill v. Knight, 569 F.2d 124, 129–30 (D.C. Cir. 1977).
6
    Id. at 130.

7
    Id. at 131.

8
    Id.

                                                –5–
             Case 1:19-cv-00422-LY Document 1 Filed 04/16/19 Page 6 of 23



           18.   A long and unbroken line of cases have established that “[t]he loss of First

Amendment freedoms, for even minimal periods of time, unquestionably constitutes

irreparable injury.”9 When First Amendment rights are burdened, there is a presumption of

irreparable harm.10

           19.   “[O]nce there is a public function, public comment, and participation by

some of the media, the First Amendment requires equal access to all of the media.”11 “All

representatives of news organizations must not only be given equal access, but within

reasonable limits, access with equal convenience to official news sources.”12 “This right is

not absolute, but it may not be infringed upon by state officials in the absence of a

compelling government interest to the contrary.”13

           20.   “The standards for issuance of a press pass must be narrowly drawn,

reasonable and definite and they must be publicly available.”14 “Furthermore, refusal to

timely inform an applicant as to the reasons for denial of a pass, that is, in what respect(s)




9
    Elrod v. Burns, 427 U.S. 347, 373 (1976).

10
     See Cmty. Communications v. City of Boulder, 660 F.2d 1370, 1376 (10th Cir. 1981).

11
     Am. Broad. Cos. v. Cuomo, 570 F.2d 1080, 1083 (2d Cir. 1977).
12
     Westinghouse Broad. Co., Inc. v. Dukakis, 409 F. Supp. 895, 896 (D. Mass. 1976).

13
     Id.

14
     Quad-City Cmty. News Serv., Inc. v. Jebens, 334 F. Supp. 8, 17 (S.D. Iowa 1971).

                                              –6–
             Case 1:19-cv-00422-LY Document 1 Filed 04/16/19 Page 7 of 23



its application is found deficient according to the standards is as void of due process as is

the lack of standards in the first instance.”15

           21.   “Where First Amendment rights are involved, the asserted state interest

must be compelling and the proposed state action must be the least restrictive means

available for the asserted governmental end.”16 “Any classification which serves to

penalize or restrain the exercise of a First Amendment right, unless shown to be necessary

to promote a compelling governmental interest is unconstitutional.”17


                 The Texas House of Representatives Provides Special Access to Media
                  Representatives to the Hall of the House During its Sessions

           22.   The Texas House Rules provide for media access to the House chamber while

the House is in session:


                 Sec. 20. MEDIA ACCESS TO HOUSE CHAMBER.

                 (a) When the house is in session, no media representative shall
                 be admitted to the floor of the house or allowed its privileges
                 unless the person is:
                        (1) employed by a print, broadcast, or Internet news
                 organization, or by a wire service serving those organizations:
                               (A) whose principal business is the periodic
                 dissemination of original news and opinion of interest to a
                 broad segment of the public;
                               (B) which has published or operated
                 continuously for 18 months; and


15
     Id.

16
     Borreca v. Fasi, 369 F. Supp. 906, 909 (D. Haw. 1974).

17
     Quad-City, 334 F. Supp. at 15.

                                              –7–
Case 1:19-cv-00422-LY Document 1 Filed 04/16/19 Page 8 of 23



                  (C) whose publications or operations are
   editorially independent of any institution, foundation, or
   interest group that lobbies the government or that is not
   principally a general news organization; and
          (2) not engaged in any lobbying or paid advocacy,
   advertising, publicity, or promotion work for any individual,
   political party, corporation, organization, or government
   agency.

   (b) Any media representative seeking admission to the floor of
   the house under the provisions of this section must submit to
   the Committee on House Administration:             (1)        a
   notarized application in a form determined by the committee;
   and
          (2) a letter from the media representative's employer
   certifying that:
                  (A) the media representative is engaged
   primarily in reporting the sessions of the legislature; and
                  (B) no part of the media representative's salary
   for legislative coverage is paid from a source other than the
   news organization that employs the media representative.

   (c) Regularly accredited media representatives who have duly
   qualified under the provisions of this section may, when
   requested to do so, make recommendations through their
   professional committees to the Committee on House
   Administration as to the sufficiency or insufficiency of the
   credentials of any person seeking admission to the floor of the
   house under this section.

   (d) If the Committee on House Administration determines that
   a person's media credentials meet the requirements of this
   section, the committee shall issue a pass card to the person.
   The committee may impose a fee to cover the costs of issuing a
   pass card. This pass card must be presented to the doorkeeper
   each time the person seeks admission to the floor of the house
   while the house is in session. Pass cards issued under this
   section shall not be transferable. The failure of a media
   representative to maintain the requirements of this section may

                                –8–
            Case 1:19-cv-00422-LY Document 1 Filed 04/16/19 Page 9 of 23



                result in the revocation of the pass card. Persons admitted to
                the floor of the house pursuant to the provisions of this section
                shall work in appropriate convenient seats or work stations in
                the house, which shall be designated for that purpose by the
                Committee on House Administration.

                …

                (g) A member of the house who believes a media representative
                granted privileges under this section does not meet the
                requirements of this section or has abused the privileges may
                submit a written complaint to the Committee on House
                Administration. The committee shall investigate the complaint
                and may temporarily suspend the media representative's
                privileges pending the investigation. The committee shall
                notify the subject of the complaint of the time and place of a
                hearing on the complaint. Following the hearing, the media
                representative's privileges granted under this section are
                revoked if the committee determines that the allegations
                contained in the complaint are valid.18

         23.    On February 19th, 2019, Plaintiff Empower Texans, through legal counsel,

requested copies of all media credentials applications received by the House of

Representatives for the 86th Texas Legislature since August 1, 2018. The House Business

Office produced 1,735 pages of documents relating to the disposition of media credentials

applications.

         24.    A review of these records demonstrates that the House has received and

approved applications for hundreds of media representatives, including representatives

from the following outlets: The Associated Press, The Austin American-Statesman, The




18
     H. Rule 5, §20, 86th Leg., Reg. Sess. (TX 2019).

                                              –9–
           Case 1:19-cv-00422-LY Document 1 Filed 04/16/19 Page 10 of 23



Austin     Chronicle,   Bob     Daemmrich      Photo,    Inc.,   Capitol   Inside,   CBS

Austin/Telemundo/Sinclair Broadcasting Group, Christian Reporter News, Come and Talk

It, Corpus Christi Caller-Times, Courthouse News Service, The Cuero Record, The Daily

Texan (a division of the University of Texas at Austin), The Dallas Morning News, The

Dallas Voice, The El Paso Times, The Fort Worth Star Telegram, Houston Business

Connections, Hearst Newspapers/Houston Chronicle/San Antonio Express News, Houston

Informer News/Freemen’s Publishing Company, KAGS, KAKW Univision Austin, KAMR

Local News 4, KBTX Media, KERA 90.1 FM, KHOU-TV, KIII-TV, KAMR, KAVU TV

News 25, KJTV, KLRU, KOSA-TV, KPRC-TV, KRIS 6 News, KRIV Fox 26, KSAT 12

News, KSAT TV, KTBC, KTRK, KTVT, KUT 90.5 (a division of the University of Texas at

Austin), KUVN, KVDA Telemundo 60, KVUE, KXAN, KXAS, KXXV-TV, Politico.com,

Quorum Report, Radio Bilingue, Inc., The San Marco Daily Record, Specrtum News/Charter

Communications, Telemundo Austin, Texas Legislative Service, Texas Media Corp, Texas

Monthly, Texas Observer, Texas Public Radio, Texas Standard, Texas State Networks/CBS

Radio News/Entercom, Texcom Television Productions, The Facts, Univision Network

News, US News & World Report, USA Today Network, Washington Post Talent Network,

WFAA, and The Wise County Messenger.

         25.   The records show the House Business Office working with all other

applicants to correct errors in applications, and to adjust applications. In addition, the

House Business Office, under Geren’s leadership, appeared to repeatedly ignore conflicting

information in order to approve freelancers.

         26.   In no case did any applicant appear to have been denied a media credential.

Three applications appear to have been withdrawn following conversations between the

                                           – 10 –
           Case 1:19-cv-00422-LY Document 1 Filed 04/16/19 Page 11 of 23



applicants and the House Business Office: Two applications from the University of Texas

Rio Grande Valley News and Internal Communication Department, and one application

from the Ellis County Press/Focus Daily News, apparently on account of the applicant also

being employed by a state representative.

         27.   In no reviewed case other than Empower Texans did the House Business

Office appear to inquire whether any publication was “editorially independent of any

institution, foundation, or interest group that lobbies the government or that is not

principally a general news organization.”


           Empower Texans, Its Publications, and Its Reporters Meet the Requirements for
                         Issuance of House Media Credentials

         28.   Empower Texans is a general news organization which publishes a variety of

news products. Its principal product is Texas Scorecard, which Empower Texans has

published since January 2015.

         29.   Texas Scorecard is a news magazine published in print to subscribers across

the state on a bi-weekly basis during sessions of the Texas Legislature and monthly during

the interims. Texas Scorecard is published online at www.TexasScorecard.com on a daily

basis.

         30.   In addition to being published online, in print, and in a weekly email digest,

Texas Scorecard’s articles are also distributed through social media, including through the

Empower Texans Facebook page, which as of March 13, 2019, had 202,400 followers. For

comparison’s sake, the major daily newspapers in Texas had the following number of

followers on the same date:



                                            – 11 –
         Case 1:19-cv-00422-LY Document 1 Filed 04/16/19 Page 12 of 23



         Austin American-Statesman            280,916

         Corpus Christi Caller-Times          96,002

         The Dallas Morning News              440,477

         El Paso Times                        147,613

         Fort Worth Star Telegram             154,606

         Houston Chronicle                    473,725

         Lubbock Avalanche-Journal            31,952

         The Monitor                          60,401

         San Antonio Express-News             348,819

         Waco Tribune-Herald                  31,340




       31.    Texas Scorecard is focused on covering news related to local, state, and

national government, and has recently ventured into covering local sports as well. The

publication’s motto is “Someone’s always keeping score. We think it ought to be the

taxpayers.”

       32.    In the Texas Capitol, Empower Texans employs two full-time reporters:

Plaintiff Brandon Waltens, who serves as Capitol Bureau Chief, and Plaintiff Destin

Sensky, who serves as Capitol Correspondent. Their duties require them to report primarily

on the sessions of the Legislature and no part of their salaries for legislative coverage is

paid for by any individual or organization other than Empower Texans.




                                           – 12 –
         Case 1:19-cv-00422-LY Document 1 Filed 04/16/19 Page 13 of 23



      33.    In addition to the Capitol Bureau, Texas Scorecard maintains bureaus in

Central Texas, the Dallas/Fort Worth Metroplex, East Texas, Houston, the Rio Grande

Valley, and West Texas.

      34.    Empower Texas also publishes a variety of other news products. Empower

Texans operates the 1836 Studios in Austin, Texas, through which it publishes Texas

Scorecard Radio and Sunday Scorecard.

      35.    Texas Scorecard Radio is a half hour radio program published weekly in

cooperation with American Radio Journal to radio stations around the state of Texas and

as a podcast available on iTunes, GooglePlay, Soundcloud, Stitcher, and Spotify. The show

typically features three segments from the Texas Scorecard bureaus as well as a guest

interview and a commentary. Sunday Scorecard is a weekly video broadcast on Facebook

Live during the legislative session on Sunday evenings. Each show typically recaps

important news of the week, includes a guest interview, and previews events that are

expected in the week to come.

      36.    Since 2007, Empower Texans has published the Fiscal Responsibility Index.

This is also a general news product that consists of an index of votes taken by legislators

that is published following each legislative session. Through it, Empower Texans reports

the voting records of legislators to Texans interested in knowing how the legislators they

elected voted on fiscal and role-of-government issues.

      37.    Empower Texans also recently began publishing in 2018 The Texas Minute,

a daily email digest summarizing its reporting and the reporting of other outlets regarding

local, state, and federal government. Designed for Texans on-the-go, The Texas Minute is



                                          – 13 –
          Case 1:19-cv-00422-LY Document 1 Filed 04/16/19 Page 14 of 23



delivered to Texans’ email inboxes each morning and is designed to be read in a minute or

less.

        38.     Empower Texans’ news products contain editorial content, and writers for

Empower Texans often take positions on candidates and legislation. However, no employee

of Empower Texans is required to register as a lobbyist and the organization does not

employ or contract with any person who is required to register as a lobbyist. Likewise,

Empower Texans is editorially independent from any outside person, entity, or

organization.

        39.     Accordingly, Empower Texans, its publications, and its employees, Waltens

and Sensky, meet the requirements of Texas House Rule 5, Section 20.


        Empower Texans, its Publications, and its Reporters Have Been Denied Equal Access
                                 to the Hall of the House

        40.     On January 3, 2019, Plaintiffs Waltens and Sensky submitted to the Texas

House and Texas Senate “Media Credentials Applications” as employees of Texas

Scorecard, accompanied by a letter from Texas Scorecard Managing Editor and Empower

Texans Vice President for Communications Morgan Williamson certifying they are

employed full time by Texas Scorecard as Capitol Bureau Chief and Capitol Correspondent,

respectively, that Texas Scorecard has been published in both print and digital editions

since 2015, that Waltens’ and Sensky’s duties require them to report primarily on the

sessions of the legislature and no part of their salary for legislative coverage is paid by any

individual or organization other than Texas Scorecard, an assumed name of Empower

Texans under Texas law.



                                            – 14 –
         Case 1:19-cv-00422-LY Document 1 Filed 04/16/19 Page 15 of 23



       41.    The Texas Senate promptly issued media credentials to Waltens and Sensky

and they have reported from the floor of the Texas Senate during the 86th Texas Legislature

without incident.

       42.    On January 4, 2019, Defendant Charlie L. Geren sent letters to Plaintiffs

Waltens and Sensky on Committee on House Administration letterhead stating he did not

believe they were eligible for a media credential. Specifically, he wrote:


              “It is [sic] has come to my attention that the organization you
              are employed by, Texas Scorecard, has a close association with
              a general-purpose political committee (GPAC) and that the
              organization’s website prominently display advocacy on policy
              matters before the legislature. Based on this information, I
              believe that you are not eligible for a media credential.”

       43.    Geren added: “According to records available on the Texas Ethics

Commission website, a GPAC with the name Empower Texans PAC is located at the same

address given for your employer.”

       44.    The language in Geren’s letter matched the language from a letter dated

January 5, 2017, from Geren to John Cary Cheshire, who was then employed as Capitol

Correspondent for Texas Scorecard for the 85th Texas Legislature, withdrawing the

“December 19, 2016, provisional approval of [his] application” for media credentials.

       45.    Geren’s repeated use of the same 2017 letter in 2019 to reject Waltens and

Sensky’s applications is a demonstration of bad faith on Geren’s part because the facts

changed in the intervening two years. Unlike in 2017, as of January, 2019, the Empower

Texans PAC was registered with the Texas Ethics Commission at an address in Cove, Texas

that was not used by Empower Texans in any way. This proves Geren merely used the issue


                                            – 15 –
         Case 1:19-cv-00422-LY Document 1 Filed 04/16/19 Page 16 of 23



regarding the address for the Empower Texans PAC as a pretense to cover for his viewpoint

discrimination against Empower Texans and Texas Scorecard.

       46.    On February 26, 2019, Empower Texans brought this issue to the attention

of Texas House Speaker Dennis Bonnen in a letter. The letter precipitated a March 5, 2019,

response from James Freeman of the House Business Office, which is under Geren’s

leadership. Freeman’s letter confirmed that, despite Geren’s January 4, 2019 letter,

Waltens’ and Sensky’s applications remain under review. Freeman asked for additional

information. Specifically, Freeman wrote:


              “To process their applications, I need additional information to
              verify their eligibility under Rule 5 Section 20 of the Rules of
              the Texas House. Can you please provide me with information
              sufficient to verify that Empower Texans Inc. d/b/a Texas
              Scorecard is editorially independent of any institution,
              foundation, or interest group that lobbies the government or is
              not principally a general news organization?”

       47.    On March 13, 2019, Empower Texans, through counsel, provided a letter

from Texas Scorecard managing editor Morgan Williamson describing the organization’s

status as a general news organization. Empower Texans also sought definitions from

Freeman of “editorially independent,” “lobbies the government,” and “general news

organization.”

       48.    Despite further attempts at communication, Geren and his employees have

refused to issue media credentials to Plaintiffs, and have refused to define the terms or say

what material Geren requires to further process Waltens’ and Sensky’s applications.




                                            – 16 –
         Case 1:19-cv-00422-LY Document 1 Filed 04/16/19 Page 17 of 23



             Geren Engaged in Bad Faith Viewpoint Discrimination Against Plaintiffs

       49.    Defendant Geren’s January 4, 2019 letter copying his denial letter from 2017

is direct evidence of his bad faith denial of Plaintiffs’ applications on the basis of viewpoint

discrimination. It is clear that Geren did not actually review Texas Ethics Commission

records in 2019 in order to conclude that Empower Texans shared an address with a GPAC

because that was no longer true in 2019, as it was in 2017. The reason initially given for

denying Plaintiffs applications was a pretense for Geren’s viewpoint discrimination; a

pretense that appears to have been abandoned in subsequent communications.

       50.    Geren frequently demonstrates his distaste for Empower Texans and its

employees on Social Media. For example, on August 6, 2013, Empower Texans CEO

Michael Quinn Sullivan tweeted “Pretty sure this clunker from @Budget is the worst rent

car. Ever.” Geren went out of his way to tweet at Sullivan and Budget “if you did not

complain what would you do” [sic].

       51.    Similarly, on August 27, 2017, Geren went out of his way to tweet at

Empower Texans CEO Michael Quinn Sullivan. When Sullivan simply tweeted “Weekend

theme song” and shared the song “Raindrops Keep Falling on My Head” by B.J. Thomas,

Geren tweeted at him “Again no class.”

       52.    On June 19, 2018, Geren tweeted at Empower Texans General Counsel Tony

McDonald, in response to a conversation between him and Emily Ramshaw of the Texas

Tribune, saying “If there are two things we definitely don’t need Tony’s input on, its [sic]

what qualifies as journalism and lying.”

       53.    When Texas Scorecard’s Dallas/Fort Worth Metroplex Bureau Chief Erin

Anderson tweeted about a tax increase in Azle I.S.D. on September 11, 2018, Geren replied:

                                             – 17 –
             Case 1:19-cv-00422-LY Document 1 Filed 04/16/19 Page 18 of 23



“You don’t care about lower property taxes, I do. You just do the bidding and lying for a

few rich men in Midland & Cisco.” He also tweeted about Empower Texans’ coverage of

the Azle I.S.D. tax ratification election saying “Empower Texans lies yet again.”

           54.   Geren’s distaste for Empower Texans may stem from its endorsements in his

races for reelection and his performance on the Fiscal Responsibility Index. Geren has

regularly earned grades of “F” on the Index. Accordingly, Empower Texans has repeatedly

endorsed Geren’s challengers in the Republican primary election.

           55.   “Newspapers … are subject to criticism, and the right of a governmental

official to criticize is within First Amendment guarantees.”19 “But when criticism

transforms into an attempt to use the powers of governmental office to intimidate or to

discipline the press or one of its members because of what appears in print, a compelling

governmental interest that cannot be served by less restrictive means must be shown for

such use to meet Constitutional standards.”20


                                        Count I
                              42 U.S.C. §§ 1983, 1988
                          Violation of the First Amendment
                     (Viewpoint Discrimination Against Plaintiffs)

           56.   Plaintiffs repeat and reallege each of the foregoing allegations in this

Complaint.




19
     Borreca, 369 F. Supp. at 910.

20
     Id.

                                            – 18 –
          Case 1:19-cv-00422-LY Document 1 Filed 04/16/19 Page 19 of 23



       57.    By refusing to issue Texas House of Representatives media credentials to

Plaintiffs, and by denying Plaintiffs access to the hall of the House equal to that afforded

to other media representatives, Defendant is violating Plaintiffs’ rights to free speech and

freedom of the press under the First Amendment, as incorporated to the states through the

Fourteenth Amendment.

       58.    Defendant has no compelling interest in denying Plaintiffs access equal to

that of other media representatives. Defendant has authorized hundreds of other journalists

and dozens of media outlets to access the hall of the House while the House is in session.

       59.    Defendant has engaged in unconstitutional viewpoint discrimination against

Plaintiffs while acting under color of state law. As a result of Defendant’s viewpoint

discrimination, Plaintiffs are suffering irreparable injury for which there is no adequate

remedy at law. Absent intervention by this Court, Plaintiffs will continue to suffer

irreparable injury.

       60.    Plaintiffs are entitled to a preliminary and permanent injunction ordering

Defendant to issue Texas House of Representatives media credentials pass cards for the

86th Texas Legislature to Plaintiffs Waltens and Sensky and prohibiting Defendant from

denying Plaintiffs access to the hall of the Texas House of Representatives in the same

manner as other media representatives.

       61.    Plaintiffs are entitled to attorneys’ fees and costs pursuant to 42 U.S.C.

§ 1988.




                                           – 19 –
             Case 1:19-cv-00422-LY Document 1 Filed 04/16/19 Page 20 of 23




                                        Count II
                                42 U.S.C. §§ 1983, 1988
                           Violation of the First Amendment
                 (Procedures for Applying for House Media Credentials)

           62.   Plaintiffs repeat and reallege each of the foregoing allegations in this

Complaint.

           63.   To the extent the House of Representatives wishes to set standards for the

issuance of media credentials, those standards “must be narrowly drawn, reasonable and

definite and they must be publicly available.”21 “Refusal to timely inform an applicant as

to the reasons for denial of a pass is as void of due process as is the lack of standards in the

first instance.”22

           64.   “[N]otice . . . of the factual bases for denial with an opportunity to rebut is a

minimum prerequisite for ensuring that the denial is . . . [not] based on arbitrary or less than

compelling reasons.”23 A final written statement of the reasons for denial is necessary to

ensure the government “has neither taken additional, undisclosed information into

account, nor responded irrationally to matters put forward by way of rebuttal or

explanation.”24




21
     Quad-City Cmty. News Serv., Inc. v. Jebens, 334 F. Supp. 8, 17 (S.D. Iowa 1971)
22
     Id.

23
     Sherrill v. Knight, 569 F.2d 124, 131 (D.C. Cir. 1977).

24
     Id.

                                               – 20 –
          Case 1:19-cv-00422-LY Document 1 Filed 04/16/19 Page 21 of 23



       65.    Here, Defendant has failed to set standards that are narrowly drawn,

reasonable and definite. Defendant has taken months to issue a decision on Plaintiffs’

applications, has refused to give Plaintiffs a reason for denial of their applications, and has

refused to give Plaintiffs a hearing in which to rebut any reasons. In fact, Defendant has

even refused to answer basic questions about how terms contained in House rules are

defined or applied and has refused to tell Plaintiffs what materials, in addition to their

application materials, they are expected to provide. Defendant took all of these

unconstitutional actions while acting under color of state law.

       66.    Defendant’s procedures for processing media credentials applications and for

applicants denied a credential to appeal an adverse decision are constitutionally

inadequate. Plaintiffs are suffering irreparable injury under both the First Amendment and

the Fourteenth Amendment for which there is no adequate remedy at law. Absent

intervention by this Court, Plaintiffs will continue to suffer irreparable injury.

       67.    Plaintiffs are entitled to a preliminary and permanent injunction ordering

Defendant to issue Texas House of Representatives media credentials pass cards for the

86th Texas Legislature to Plaintiffs Waltens and Sensky and prohibiting Defendant from

denying Plaintiffs access to the hall of the Texas House of Representatives in the same

manner as other media representatives.

       68.    Plaintiffs are entitled to attorneys’ fees and costs pursuant to 42 U.S.C.

§ 1988.




                                            – 21 –
         Case 1:19-cv-00422-LY Document 1 Filed 04/16/19 Page 22 of 23




                                     Count III
                               28 U.S.C. §2201-02
                             Declaratory Judgment Act

      69.    Plaintiffs repeat and reallege each of the foregoing allegations in this

Complaint.

      70.    Plaintiffs are entitled to a declaratory judgment that Plaintiffs are entitled to

issuance of Texas House of Representatives media credentials and may not be prohibited

from accessing the hall of the Texas House of Representatives in the same manner as other

media representatives.

      71.    Plaintiffs are entitled to a declaratory judgment that Defendant’s procedures

for processing media credentials applications and for applicants denied a credential to

appeal an adverse decision are constitutionally inadequate.




                                   Prayer for Relief

WHEREFORE, Plaintiffs respectfully request this Court enter judgment in their favor

and against Defendant and provide the following relief:


      A.     A declaratory judgment that Plaintiffs are entitled to issuance of Texas

House of Representatives media credentials and may not be prohibited from accessing the

hall of the Texas House of Representatives in the same manner as other media

representatives;




                                           – 22 –
            Case 1:19-cv-00422-LY Document 1 Filed 04/16/19 Page 23 of 23



       B.      A declaratory judgment that Defendant’s procedures for processing media

credentials applications and for applicants denied a credential to appeal an adverse decision

are constitutionally inadequate;

       C.      A permanent injunction ordering Defendant to issue Texas House of

Representatives media credentials pass cards for the 86th Texas Legislature to Plaintiffs

Waltens and Sensky and prohibiting Defendant from denying Plaintiffs access to the hall

of the Texas House of Representatives in the same manner as other media representatives;

       D.      A preliminary injunction granting the relief specified above during the

pendency of this action;

       E.      Plaintiffs’ reasonable costs and expenses of this action, including attorneys’

fees, in accordance with 42 U.S.C. § 1988 and all other applicable laws; and

       F.      All other further relief to which Plaintiff might be entitled.


                                                      Respectfully submitted,

                                                      The Law Offices of Tony McDonald

                                                      By: /s/ Tony McDonald

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                                                      Dated April 16, 2019


                                             – 23 –
